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                         UNITED STATES BANKRUPTCY COURT

                                            FOR THE

                            EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

     In the Matter of:
                                                   Chapter 13
     KAREN YAMIRA BAEZ
                                                   Case No. 19-10004-BFK

                           Debtor

                     OBJECTION TO CONFIRMATION OF PLAN,
                 NOTICE OF OBJECTION TO CONFIRMATION OF PLAN
                                     AND
                NOTICE OF SCHEDULED HEARING ON THIS OBJECTION

     Thomas P. Gorman, Chapter 13 Trustee, has filed this objection to confirmation of
     your Chapter 13 Plan filed January 28, 2019. The cause for this objection is as
     follows:
            Violation of 11 U.S.C. §1325(a)(4) - Liquidation Test.
                Zillow values Debtor's property at $298,555.00, over $100,000.00
                   higher than Debtor's Schedule A valuation of $193,290.00. Based on
                   Zillow value, Debtor's 9% Plan would not meet liquidation test.

            Violation of 11 U.S.C. §1325(a)(6) - Feasibility.
                Debtor has not provided for her 2018 tax liability.

            Your rights may be affected. You should read these papers carefully and
     discuss them with your attorney, if you have one in this bankruptcy case. (If you
     do not have an attorney, you may wish to consult one.)
            If you do not wish the court to grant the relief sought in the objection, or if you
     want the court to consider your views on the objection, then on or before five business
     days prior to the hearing date, you or your attorney must:
            File with the court a written response with supporting memorandum as required
            by Local Bankruptcy Rule 9013-1(H). Unless a written response and
            supporting memorandum are filed and served by the date specified, the Court
            may deem any opposition waived, treat the motion as conceded, and issue an
            order granting the requested relief without further notice or hearing. If you mail
            your response to the court for filing, you must mail it early enough so the court
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     Notice of Objection To Confirmation
     Karen Yamira Baez, Case # 19-10004-BFK

            will receive it on or before the date stated above. You must mail a copy to the
            persons listed below.

            Attend the hearing to be held on March 7, 2019 at 1:30 p.m. in Courtroom #1
            on the 2nd floor, United States Bankruptcy Court, 200 South Washington
            Street, Alexandria, Virginia 22314. If no timely response has been filed
            opposing the relief requested, the court may grant the relief without holding a
            hearing. A copy of any written response must be mailed to the following
            persons:

                                   Thomas P. Gorman
                                   300 North Washington Street, Ste, 400
                                   Alexandria, VA 22314

                                   Clerk of the Court
                                   United States Bankruptcy Court
                                   200 South Washington Street
                                   Alexandria, VA 22314

             If you or your attorney do not take steps, the court may decide that you do not
     oppose the relief sought in the motion or objection and may enter an order granting that
     relief.

     Date: _February 22, 2019______                      ___/s/ Thomas P. Gorman_____
                                                         Thomas P. Gorman
                                                         Chapter 13 Trustee
                                                         300 N. Washington Street, #400
                                                         Alexandria, VA 22314
                                                         (703) 836-2226
                                                         VSB 26421

                                CERTIFICATE OF SERVICE

     I hereby certify that I have this 22nd day of February, 2019, served via ECF authorized
     users or mailed a true copy of the foregoing Objection to Confirmation, Notice of
     Objection and Notice of Hearing to the following parties.

     Karen Yamira Baez                            Barry Weintraub
     Chapter 13 Debtor                            Attorney for Debtor
     1000 Pecan Lane                              32 Hayes Street
     Fredericksburg, VA 22405                     Stafford, VA 22556


                                                         __/s/ Thomas P. Gorman______
                                                         Thomas P. Gorman
